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                              Nos. 19-1583, 19-1626




                       UNITED STATES COURT OF APPEALS
                            FOR THE FIRST CIRCUIT



                           UNITED STATES OF AMERICA,
                                    Appellant

                                           v.

                                  DAPHNE MOORE,
                                     Appellee.


                   ON APPEAL FROM AN ORDER SUPPRESSING
                        EVIDENCE UNLAWFULLY SEIZED
                ENTERED IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MASSACHUSETTS
                                 [YOUNG, J.]


                    ANSWERING BRIEF FOR DAPHNE MOORE


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                          STATEMENT OF THE ISSUES

            I. The District Court correctly ruled that the government’s use
      of a pole camera secretly positioned to capture the images of every
      person who entered and left Ms. Moore’s house, and of every
      vehicle [license plate included] that entered or left Ms. Moore’s
      driveway, simultaneously creating a precise, searchable video log
      of this intensive surveillance, conducted by the government
      uninterrupted for an eight month period, constituted a search within
      the meaning of the Fourth Amendment, and so required a warrant.

           II. The District Court’s ruling is not foreclosed by circuit
      precedent.

           III. The government’s claim that its agents “could have”
      conducted this warrantless search in good faith reliance on circuit
      precedent is waived.

                            STATEMENT OF THE CASE

                                  Pertinent Facts

            On May 17, 2017 agents of the Bureau of Alcohol, Tobacco and

      Firearms [BATF] placed a camera on a utility pole across the street

      from Defendant Daphne Moore’s residence at 120 Hadley Street in

      Springfield, MA. Ms. Moore’s home “is located on a quiet residential

      street where physical surveillance [is] difficult to conduct without

      detection.” G.Add.8. The government operated this camera 24

      hours a day, seven days a week, until mid-January 2018,

      approximately eight months. G.Add.3.

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            Nothing in the record indicates that BATF obtained permission

       from anyone to install this camera. BATF trained this camera on

       Defendant Moore’s home for the entire period of operation.

            From the images the government belatedly disclosed1 with its

       Motion for Reconsideration, it appears that the camera lens was

       trained on the front yard, the right front corner of the house, the

       driveway and the garage when it made the images that the

       government has selected as most useful to its case. E.g.,

       G.App.154-155. In some images, the right front corner of the house

       – from the perspective of one facing it from the street – is visible,

       including a double set of windows. Id. In others, only a corner of

       the eaves of the house is depicted. E.g., G.App.191. The camera

            1

       In its Government’s Appendix, the government has reproduced 82
       pole camera images that it filed in the District Court in support of
       its June 4, 2019 Motion for Reconsideration [ECF Doc. 423-2]. The
       government submitted no such evidence with its opposition. In the
       May 13, 2019 hearing on Defendant Moore’s motion to suppress,
       the Court asked which images the government intended to present,
       but was told that the government had not yet decided. G.App. 112-
       113,122. None of these images was before the Court when it heard
       the motion to suppress and issued its ruling. All except one that is
       undated [G.App. 231], these photos are taken from footage shot
       between November 17 and December 31, 2017, after six months of
       apparently unproductive surveillance. G.App.154-230.

                                            2
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       lens may have had some wide-angle capabilities, as one of the

       images shows the yards to the right of 120 Hadley to a distance of

       4 or 5 houses [G.App.186], while others show a much narrower

       view.    G.App.156,191.      Because        no   affidavit    or      testimony

       accompanied these images, the viewer cannot discern whether the

       variations reflect camera capabilities or manipulation of the images

       for publication.

            The government’s select photographs2 demonstrate that the

       degree to which Defendant Moore’s home is exposed to the

       camera’s view varies by the season. When the trees are in full leaf,

       neither the house nor the garage is visible, and only the half of the

       driveway closest to the street is visible. G.App.231. In the fall and

       winter the view is more open. G.App. 154-155.

            Between Ms. Moore’s home and the house to the right stands

       a row of dense evergreen shrubbery and bushes, with larger trees

       interspersed. G.App.154-155. Stockade fencing connected to the

       garage extends to those bushes, which appear to be overgrown

            2

       The same photographs are available on the Pacer website, 3:18-cr-
       30001-WGY, ECF Doc. 423, where the resolution and overall quality
       are superior to those reproduced in the government’s appendix.

                                            3
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       hedge. G.App.215, 218, 227. Because only the driveway and right

       side of the front yard can be seen clearly in them, these

       photographs do not disclose whether Ms. Moore’s property exhibits

       other steps taken to privatize it. No street-level photographs depict

       what a casual pedestrian could observe. The width of the yard

       cannot be discerned but the adjacent yards that can be seen down

       the street appear to have a hundred feet or less of frontage. Moving

       at 4 feet/second a typical pedestrian would pass by in less than a

       minute.3

            The pole camera could be operated remotely in real time and

       produced a searchable, continuous digital recording of everything

       that came within its purview for those eight months. G.Add.3. It

       could be remotely panned, tilted, and zoomed in to enable law

       enforcement officers to read license plates, see into vehicles and

       observe what the occupants were doing, and focus on faces with



            3

       LaPlante & Kaeser, The Continuing Evolution of Pedestrian Walking
       Speed Assumptions, ITE Journal 32, 40 (September
       2003)[Concluding that 4 feet/second is the average urban
       pedestrian foot speed. At this speed, a person would walk about
       250 feet per minute].

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       enough precision to enable the operators to recognize facial

       features. G.App.230, 158-159, 182.

            During the roughly eight months of this operation, the

       government      collected   an   estimated     4    terabytes        of     data.4

       MooreAdd.1. No warrant authorized this activity. The government

       has not asserted that it was supported by probable cause. G.Add.4.

                                Procedural History

            On January 11, 2018 a federal grand jury charged Nia Moore-

       Bush and others with a single count of narcotics distribution

       conspiracy. ECF Doc. 3. Ms. Moore-Bush has been detained since

       her arrest. ECF Doc. 30, 53. At the time of that arrest, her mother

       Daphne Moore was the adjudicated custodian of Ms. Moore-Bush’s



            4

       A terabyte is a multiple of the unit byte for digital information. The
       byte is a unit of digital information that most commonly consists of
       8 bits. Historically, the byte was the number of bits used to encode
       a single character of text in a computer and for this reason is the
       smallest addressable unit of memory in many computer
       architectures. The prefix “tera” represents the fourth power of
       1000, and means 10 to 12th power in the International System of
       Units. Therefore one terabyte is one trillion bytes, or 1000
       gigabytes.      https://en.wikipedia.org/wiki/Terabyte             and
       https://en.wikipedia.org/wiki/Byte, last visited October 9, 2019.


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       two minor children, who lived with her [and still do]. More than

       eleven months later, on December 20, 2018 a grand jury returned

       a superseder charging the original defendants with additional counts

       of committing narcotics, firearms and money laundering violations

       and conspiracies. Daphne Moore, Nia Moore-Bush’s mother, was

       added as a defendant, charged with narcotics and money laundering

       crimes and conspiracies, and making false statements. ECF Doc.

       206.

              Ms. Moore is a lawyer and has served as an Assistant Clerk

       Magistrate of the Hampden Superior Court for more than 18 years.

       She was represented by counsel for the year leading up to her

       indictment, and her counsel           offered to surrender her for

       arraignment. The government refused this accommodation. Instead,

       federal agents arrested Ms. Moore at her home at approximately

       9:00 a.m. on December 21, 2018 and took her to the Springfield

       police station to be booked. Ms. Moore was then transported to the

       federal courthouse in Worcester and held in the United States

       Marshal’s lockup in handcuffs and ankle shackles until her

       arraignment at the end of the court day. The government did not


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       seek detention; Ms. Moore was released on recognizance. ECF Docs.

       228, 230, G.App.22; ECF Doc. 250, Ex.B; MooreApp. 18-20.

            On January 14, 2019 trial was set for June 10, 2019. ECF Doc.

       255, G.App.24.

            Defendant Moore moved on April 22, 2019 to suppress the

       evidence collected by the government’s pole camera. ECF Doc. 326,

       G.App. 27. The government filed an opposition on May 6, 2019. ECF

       Doc. 367, G.App. 30. Following a non-evidentiary hearing5 on May

       13, 2019 Judge Young took the matter under advisement. ECF Doc.

       396, G.App.31. On June 3, 2019 Judge Young granted the motion.

       ECF Docs. 416 (original memorandum and order),422 (amended

       memorandum and order), G. App.33.

            On June 4, 2019 the government filed a motion for

       reconsideration, attaching the hearing transcript, together with 8

       video clips and 82 pole camera images it designated as trial

       exhibits. ECF Doc. 423, G.App.33-34. Judge Young denied

       reconsideration on June 5, 2019. ECF Doc. 424, G.App.34.


            5

       Ms. Moore’s counsel asked for an evidentiary hearing. G.App.104-
       105.

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            On June 6, 2019 Daphne Moore filed a Renewed Motion For

       Evidentiary Hearing On Derivative Evidence and Suppression of

       Evidence Derived From Fruits Of Pole Camera Surveillance, with

       exhibits demonstrating how other government evidence had been

       tainted by the fruits of the pole camera operation. ECF Doc. 426,

       G.App.34; Moore App.2-16. The same day, the government filed a

       notice of appeal from Judge Young’s amended suppression order.

       ECF Doc. 427, G.App.34.

            This prompted the District Court to continue the trial,

       scheduled to commence June 10, 2019, “without day.” ECF Doc.

       429, G.App.34. On June 19, 2019 the government filed its notice of

       appeal from the denial of its motion for reconsideration. ECF

       Doc.434, G.App.34.

            The appeal was entered in this Court on June 11, 2019.

                           SUMMARY OF ARGUMENTS

            For eight months the government trained a pole camera on the

       front of Ms. Moore’s home, her garage, front yard and her driveway.

       Indiscriminately and surreptitiously, it recorded the physical

       movements of all of the individuals and vehicles who came to and


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       went from her house. In the process, the camera observed who was

       in Ms. Moore’s house, when and for how long. The government did

       not claim probable cause or a warrant justified this activity; its only

       defense is that the activity did not constitute a search. Multiple

       Supreme Court precedents establish that the pole camera operation

       as a whole constituted a Fourth Amendment search.

            Carpenter v. United States, 138 S.Ct.2206 (2018) held that

       individuals have a reasonable expectation of privacy in their

       “physical locations and movements.” The historical cell site location

       information provided a detailed, time stamped                record of the

       phone’s whereabouts at all times and gives police access to a trove

       of information “otherwise unknowable.” Five justices in United

       States v. Jones, 565 U.S. 500 (2012) agreed that GPS monitoring

       of a motor vehicle constituted a search for similar reasons. The

       Carpenter Court refused to extend the third party rule to this

       information. In Carpenter and Jones the Court further indicated

       that the target individual’s First Amendment interests in freedom of

       association and political advocacy were jeopardized by the

       unregulated collection and use of this information.              In Kyllo v.


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       United States, 533 U.S. 27 (2001) the Court held that all details of

       the interior of a home, including who was in the house, how warmly

       it was heated and whether there was a can of ether there, is

       protected from discovery through government surveillance. In Bond

       v. United States, 529 U.S. 334 (2000) the Court found that the

       passenger/owner of a “soft” luggage bag he had placed in the

       overhead bin of a bus, where he knew others could handle it, still

       retained a reasonable expectation that police would not search it by

       manipulating it.

            These Supreme Court principles require the conclusion that the

       pole camera operation against Ms. Moore constituted a Fourth

       Amendment search. Since it was conducted without a warrant, the

       district court’s order suppressing it must be affirmed. [12-33]

            This Court’s holding in United States v. Bucci, 582 F3d 108

       (2008) that an individual does not have a reasonable expectation

       of privacy in the parts of her house and yard that are exposed to

       the public does not address the expectations of privacy found in

       Carpenter, Jones, Bond and Kyllo to be reasonable and thus

       protected from warrantless governmental searches. It does not


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       constitute a circuit precedent that controls the adjudication of Ms.

       Moore’s claim.

            Even if Bucci is the controlling circuit precedent, both

       exceptions to the law of the circuit direct this Court to find that the

       intervening Supreme Court precedents in Kyllo, Jones and

       Carpenter to follow their rationales and conclude that the pole

       camera operation against Ms. Moore constituted a warrantless

       search requiring suppression of its fruits. [33-48]

            The government did not assert a claim of good faith reliance

       on Bucci in response to Ms. Moore’s motion to suppress. It does not

       assert that the judge erred in finding this to be a waiver of the

       claim. The government made a good faith claim in a motion to

       reconsider that offered no factual basis for it, and made no effort to

       show     good   cause   to excuse        the waiver.     The    motion     for

       reconsideration does not entitle the government to plain error

       review of its good faith claim. Its plain error argument is

       undeveloped and without merit in any event.                    Accordingly,

       suppression is required. [48-59]




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                                   ARGUMENTS

           I. THE DISTRICT COURT’S RULING THAT THE
       GOVERNMENT’S CREATION OF A COMPREHENSIVE,
       SEARCHABLE DIGITAL VIDEO LOG OF ALL OF THE COMINGS
       AND GOINGS TO AND FROM MS. MOORE’S HOUSE FOR
       TWENTY FOUR HOURS A DAY OVER AN EIGHT MONTH
       PERIOD CONSTITUTED A SEARCH GOVERNED BY THE
       FOURTH AMENDMENT IS CONSISTENT WITH THE SUPREME
       COURT’S RULING IN CARPENTER6 AND SO REQUIRED A
       WARRANT.

            A. Standard of Review.

            This Court reviews the district court’s factual findings for clear

       error and its legal conclusions de novo. It may affirm on any basis

       apparent in the record. United States v. Moss, 936 F3d 52, 58 (1st

       Cir. 2019). This standard applies to all arguments in this brief.

           B. The Government’s Use Of The Pole Camera And The
       Information That It Generated Constituted A Search For
       Which A Warrant Was Required.

            The pivotal issue in this case is whether the government is

       required to obtain a warrant before surreptitiously conducting

       surveillance of a person’s comings and goings, and those of her

       family, friends and associates, to and from her home, twenty four


            6

       138 S.Ct. 2206 (2018).

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       hours a day, for eight months, using camera equipment that zooms

       and pans to permit identification of vehicle license plates and the

       faces and activities of individuals in and outside of vehicles in the

       driveway; and stores the aggregated images of this surveillance in

       a digitally searchable device indefinitely.

            The District Court succinctly and correctly framed the

       government’s position in these terms:

                The Government does not justify its use of the Pole
          Camera with a warrant or probable cause. See generally
          Gov’t Opp’n. Instead, it insists that its use of the Pole Camera
          does not amount to a search. Id., at 2. Consequently, as the
          parties have presented this case, the use of the Pole Camera
          violates the Fourth Amendment if its operation constitutes a
          search.

       G.Add.4. The government does not challenge this formulation in its

       brief.7

            Judge Young correctly analyzed Carpenter and applied it to the

            7

       The District Court noted that the government had the opportunity
       to argue that the good faith exception salvaged its warrantless
       search, but it did not. G.Add.4-5, fn. 2. The court held that this
       omission constitutes a waiver of the issue. Id. The government
       asserted a good faith claim in its Motion for Reconsideration; the
       District Court declined to reconsider. G.Add.26-27, ECF Doc. 424.
       The Government’s appellate claims on this issue are addressed
       below, Part III.

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       pole camera search in this case. G.Add.4-24.

           1. Ms. Moore Had A Subjective And Reasonable
       Expectation Of Privacy In The Information The Government
       Seized From Her And Compiled In A Searchable Database.

            The district court found that Ms. Moore “exhibited” a subjective

       expectation of privacy, inferred from her actions in choosing to live

       in a secluded neighborhood and a home that featured significant

       privacy precautions. G.Add. 8-9. She:

          expected privacy in the whole of [her] movements over the
          course of eight months from continuous video recording with
          magnification and logging features in the front of their home.
          [citations omitted] The Court infers from [Moore’s] choice of
          neighborhood and home within it that [she] did not
          subjectively expect to be surreptitiously surveilled with
          meticulous precision each and every time [she] or a visitor
          came or went from [her] home.

       G.Add.9. These findings of fact are not clearly erroneous. See,

       United States v. Waller, 426 F3d 838, 844 (6th Cir. 2005)[subjective

       expectation of privacy established by circumstantial evidence];

       United States v. Childs, 2008 U.S. Dist. LEXIS 27525, 2008 WL

       941779 (D. Mass. 2008).

            As the owner of the house, Moore necessarily had a reasonable

       expectation that she was not subject to the intense, personal



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       surveillance imposed on her here. State v. Jones, 903 N.W.2d 101

       (S.D.2017)[“These (pole camera) observations revealed the

       patterns of Jones’s life and were gathered without a neutral judicial

       official deciding whether law enforcement had probable cause to

       justify the intrusion”].8

           2. United States v. Jones: GPS Monitoring And Collection
       Of The Public Movements Of A Vehicle Constitutes A Search.

            The basis for the expectation of privacy articulated in

       Carpenter is found in United States v. Jones, 565 U.S. 400 (2012).

       In Jones, the Court held that the installation of a GPS tracking

       device, and the use of that device to monitor the vehicle’s

       movements, constituted a “search” under the Fourth Amendment.

       565 U.S. at 404. It rejected the government’s Katz-based argument

       that Jones had no reasonable expectation of privacy, either in the

       place where the device was attached or in the public movements of

       the vehicle. The Court responded that Jones’s Fourth Amendment

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       This astute, carefully reasoned pre-Carpenter ruling relied heavily
       on the Jones concurrences, quoting Justice Alito: “The best that we
       can do in this case is to apply existing Fourth Amendment doctrine
       and to ask whether the use of [the unregulated technology in a
       particular case involved a degree of intrusion that a reasonable
       person would not have anticipated.” Jones, 565 U.S. at 430.

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       rights “do not rise or fall with the Katz formulation.” Rather, “we

       must ‘assur[e] preservation of that degree of privacy against

       government that existed when the Fourth Amendment was

       adopted.’” Id., at 406. The Katz “reasonable expectation of privacy”

       formulation “has been added to, not substituted for, the common-

       law trespassory test.” Id., at 409. The common law trespass

       formulation covers the “persons, houses, papers, and effects”

       enumerated in the text of the Fourth Amendment; “[s]ituations

       involving merely the transmissions of electronic signals without

       trespass would remain subject to Katz analysis.” Id., at 411 & n. 8.

            Because the government trespassed on Jones’s property

       interests in attaching the device to his car, its actions constituted

       a search.

            Justice Alito, joined by Justices Kagan, Ginsberg and Breyer,

       concurred but advocated discarding the trespassory formulation in

       favor of a solely Katz-based analysis. 565 U.S. 419-431. The

       majority rejected that alternative because “[i]t would apply

       exclusively Katz’s reasonable-expectation-of-privacy test, even

       when that eliminates rights that previously existed.” Id., at 411.


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            Justice Sotomayor concurred separately, embracing and

       expanding on Justice Alito’s observations that “physical intrusion is

       now unnecessary to many forms of surveillance,” and “the same

       technological advances that have made possible nontrespassory

       surveillance techniques will also affect the Katz test by shaping the

       evolution of societal privacy expectations.” Id., at 414-415

       [emphasis added]. She agreed with Justice Alito that, “at the very

       least, ‘longer term GPS monitoring in investigations of most

       offenses impinges on expectations of privacy.’” She continued:

                In most cases involving even short-term monitoring,
          some unique attributes of GPS surveillance relevant to the
          Katz analysis will require particular attention. GPS monitoring
          generates a precise, comprehensive record of a person’s
          public movements that reflects a wealth of detail about her
          familial, political, professional, religious and sexual
          orientations. * * * The government can store such records
          and efficiently mine them for information years into the
          future. Pineda-Moreno, 617 F3d, at 1124 (opinion of Kozinski,
          C.J.). And because GPS monitoring is cheap in comparison to
          conventional surveillance techniques and, by design,
          proceeds surreptitiously, it evades the ordinary checks that
          constrain abusive law enforcement practices: ‘limited police
          resources and community hostility.” Illinois v. Lidster, 540
          U.S. 419, 426, 124 S.Ct. 885, 157 L. Ed. 2d 843 (2004).
                Awareness that the government may be watching chills
          associational and expressive freedoms. And the government’s
          unrestrained power to assemble data that reveal private
          aspects of identity is susceptible to abuse. The net result is

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          that GPS monitoring – by making available at a relatively low
          cost such a substantial quantum of intimate information
          about any person whom the government, in its unfettered
          discretion, chooses to track – may “alter the relationship
          between citizen and government in a way that is inimical to
          democratic society.” United States v. Cuevas-Perez, 640 F3d
          272, 285 (CA7 2011)(Flaum, J., concurring).
                I would take these attributes of GPS monitoring into
          account when considering the existence of a reasonable
          societal expectation of privacy in the sum of one’s public
          movements. I would ask whether people reasonably expect
          that their movements will be recorded and aggregated in a
          manner that enables the government to ascertain, more or
          less at will, their political and religious beliefs, sexual habits,
          and so on. I do not regard as dispositive the fact that the
          government might obtain the fruits of GPS monitoring
          through lawful conventional surveillance techniques. See
          Kyllo, 533 U.S., at 35, n.2, 121 S.Ct. 2038, 150 L. Ed.2d. 94;
          ante, at     , 181 L.ed. 2d at 923 (leaving open the possibility
          that duplicating traditional surveillance “through electronic
          means, without an accompanying trespass, is an
          unconstitutional invasion of privacy”). I would also consider
          the appropriateness of entrusting to the Executive, in the
          absence of any oversight from a coordinate branch, a tool so
          amenable to misuse, especially in light of the Fourth
          Amendment’s goal to curb arbitrary exercises of police power
          and prevent “a too permeating police surveillance,” United
          States v. Di Re, 332 U.S. 581, 595, 68 S.Ct. 222, 92 L.Ed. 2d
          210 (1948).

       Jones, 565 U.S. at 415-417 (Sotomayor, J., concurring)

       [emphasis added].

            Justice Sotomayor also foresaw the need to reexamine the



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       Katz dicta that was designed to curb the reasonable expectations of

       privacy doctrine – the third party and public “exposure” rules:

          But whatever the societal expectations, they can attain
          constitutionally protected status only if our Fourth
          Amendment jurisprudence ceases to treat secrecy as a
          prerequisite for privacy. I would not assume that all
          information voluntarily disclosed to some member of the
          public for a limited purpose is, for that reason alone,
          disentitled to Fourth Amendment protection. * * * see also,
          Katz, 389 U.S., at 351-352, 88 S.Ct. 507, 19 L.ed. 2d 576
          (“[W]hat [a person] seeks to preserve as private, even in an
          area accessible to the public, may be constitutionally
          protected”).

       Id., at 418 [emphasis added].

            Most of the substance of these two concurrences was worked

       into the majority opinion in Carpenter: “A majority of this Court

       has already recognized that individuals have a reasonable

       expectation of privacy in the whole of their physical

       movements.” 138 S.Ct. At 2217 [emphasis added]. Like Gall and

       Kimbrough9, Jones and Carpenter laid the groundwork for a

       wholesale revision of the Court’s way of thinking about reasonable

       expectations of privacy concerning intensive, long-term surveillance



            9

       See, infra pp. 44-46.

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       capabilities and practices that generate large aggregations of

       storable and searchable information about private citizens, whether

       or not that information is harvested from public activity.

           3. Carpenter v. United States: Seizure Of Aggregated
       Cell Site Location Information Compiling The Public
       Movements Of A Cell Phone Is A Search.

            In Carpenter, a court order permitted the government to

       obtain the defendant’s cell site location information [CSLI] from his

       cell phone service provider without a warrant. CSLI is generated

       automatically by the electronic interaction between a cell phone and

       a set of radio antennae known as a cell site. Cell phones

       continuously scan their environment looking for the strongest

       signal, which typically comes from the closest cell site. Each time

       the phone connects with a cell site, the site generates a time-

       stamped record known as CSLI. Service providers collect and store

       “historical” CSLI for various business purposes. Federal law

       permitted federal prosecutors to apply for court orders that compel

       the service providers to disclose historical CSLI without a showing

       of probable cause. 138 S.Ct. at 2211-2213. This information can be

       digitally organized and searched precisely to pinpoint the location


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       of the cell phone at specified times. Id. At issue in Carpenter were

       two orders spanning 152 and 7 days of CSLI, which contained

       12,898 location points cataloging Carpenter’s movements over 127

       days. Id., at 2212.

            The Court held that Carpenter had a reasonable expectation of

       privacy in the CSLI generated by his cell phone, even though it was

       taken from the service provider. 138 S.Ct. at 2217. It reached this

       point by resolving tensions between a person’s “expectations of

       privacy in his physical location and movements” and the third-party

       doctrine under which the voluntary transfer of information to

       another erases or delegitimizes that expectation. The Court

       concluded that the individual’s expectation of privacy in CSLI

       depended on several “unique” attributes of historical CSLI:

            ! “Mapping a cell phone’s location over 127 days provides an

       all-encompassing record of the holder’s whereabouts.”10 138 S.Ct.

       at 2217.

            10

       In Carpenter, the Court observed that five Justices in Jones agreed
       that “privacy concerns would be raised by, for example,
       ‘surreptitiously activating a stolen vehicle detection system’” or
       “conducting GPS tracking” of a suspect’s cell phone. 138 S.Ct. at
       2215.

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            ! “The timestamped data provides an intimate window into a

       person’s life, revealing not only his particular movements, but

       through them his ‘familial, political, professional, religious and

       sexual associations.’”11 Id.

            ! “[C]ell phone tracking is remarkably easy, cheap, and

       efficient compared to traditional investigative tools. With just a click

       of a button, the Government can access each carrier’s deep

       repository of historical location information at practically no

       expense.” Id., at 2218.

            ! “[Individuals] compulsively carry cell phones with them all

       the time.” Id.

            ! “[T]he retrospective quality of the data . . . gives police

       access to a category of information otherwise unknowable.”

       Id., at 2218.


            11

       The government argues that this attribute is found only in Justice
       Sotomayor’s concurrence in Jones, 565 U.S. at 425. GOB at 28. This
       misses the fact that the Carpenter majority effectively incorporated
       this element of Justice Sotomayor’s Jones concurrence. Carpenter,
       138 S.Ct. at 2215, 2217, 2220. It also misses the fact that United
       States v. Thompson, 866 F3d 1149, 1158-1159 (10th Cir. 2017),
       cited for that proposition was GVR’d on the basis of Carpenter.
       Thompson v. United States, 138 S.Ct. 2706 (2018).

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            Aggregated, these five attributes of CSLI created an actual and

       reasonable expectation of privacy in that information.

            The Court further held that the third party doctrine does not

       apply to CSLI because the underlying rationale of that doctrine is

       “voluntary exposure,” which does not “hold up when it comes to

       CSLI.” Carpenter, 138 S.Ct. at 2220. A cell phone “logs a cell-site

       record by dint of its operation, without any affirmative action on the

       part of the user beyond powering up.” Further, “apart from

       disconnecting the phone from the network, there is no way to avoid

       leaving behind a trail of location data.” CSLI is “not truly shared as

       one normally understands the term.” In other words, “in no

       meaningful sense does the user voluntarily ‘assume[] the risk’ of

       turning over a comprehensive dossier of his physical movements.”

       Id. The Court did not except CSLI from the reach of the third party

       doctrine; it refused to extend the third party doctrine to that kind

       of information.12 Id.

            Therefore, the government’s acquisition of Carpenter’s CSLI


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       Viewed from this perspective, Bucci constitutes an unwarranted
       extension of the public exposure doctrine.

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       constituted a search. Id., at 2230.

            The data generated by the Moore pole camera falls within

       these parameters.

            !The pole camera monitored all comings and goings by any

       person into Ms. Moore’s home and front yard for a period of 8

       months. This data may be less comprehensive than CSLI but is

       more intimate because, being limited to her home, it is more likely

       to reveal her closest personal associations where her expectation of

       privacy is highest. State v. Jones, supra at 113.

            !The pole camera’s video cache is time stamped, revealing

       not only Ms. Moore’s comings and goings, but identifying the people

       she interacts most closely with, and facilitating the investigation of

       them.

            !The pole camera is easy, cheap and efficient compared to

       traditional surveillance tools. Without having to contend with third

       party custodians, the government can access its own repository of

       historical images of physical movements at practically no expense.

       It can also monitor these physical movements in real time and use

       the information generated to coordinate with other investigative


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       tools. In this aspect, it is more powerful than CSLI. See,

       MooreAdd.2-15.

            !Ms. Moore was unaware of this surveillance and unwittingly

       compelled to participate in it for as long as the government chose

       to carry it out. Like a cell phone user, she had no choice in the

       matter.

            !The ongoing nature of the surveillance and retrospective

       quality of the data gave the government access to a category of

       information otherwise unknowable – Ms. Moore’s patterns of coming

       and going, and the identities and patterns of her visitors.13 State v.

       Jones, supra.

            Under Carpenter and Jones, the government’s pole camera

       activity in this case clearly constituted a search. The public

       disclosure limitation has already been limited consistently with this

       proposition.



            13

       This feature of pole camera surveillance is susceptible of profound
       abuse absent the judicial oversight that the warrant process
       imposes. Simple adjustments, such as the installation of facial
       recognition software, creates a “surveillance state” tool. See,
       MooreAdd.22-25.

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           4. The Unavoidable Exposure Of The Individual Events
       That The Government Has Compiled And Archived Does Not
       Quash Ms. Moore’s Reasonable Expectation Of Privacy.

            As noted above, the information searched for and seized in

       Jones and Carpenter had been exposed publicly; that fact did not

       eliminate the individual’s reasonable expectation of privacy in it.

       This is consistent with both Katz, 389 U.S. 347, 351-352 (1967),

       and Bond v. United States, 529 U.S. 334 (2000). Katz points out

       that public exposure is not determinative of whether it is protected

       by the Fourth Amendment.

            Likewise in Bond, a person’s reasonable expectation of privacy

       was not simply dependent on whether or not she she or her effects

       have been exposed to the public. Rather, a reasonable expectation

       of privacy is informed by what that person may expect from the

       public, in general, in the circumstances of the particular “exposure”.

            For example, living in a residential neighborhood raises the

       reasonable prospect that one or more neighbors will observe you

       leaving your house at various times and for various purposes. It

       would be unreasonable to expect such casual observations not to

       happen. It is also within the realm of possibility that a neighbor or


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       passerby will take a photograph, incidentally or purposely capturing

       your image or the image of a guest. However, being established in

       a quiet residential neighborhood, you would not reasonably expect

       neighbors or passers-by to record by searchable video every coming

       and going from your home for a period of even a day, much less for

       months on end.

            Thus, Mr. Bond could expose his “soft” luggage to the public,

       on a bus, and reasonably expect that it would be handled by other

       passengers or bus employees, without losing his expectation of

       privacy in the contents of the luggage, even though manipulation

       of the exterior might reveal information about the contents. Id at

       338. That expectation of privacy remained intact based on his life

       experience in carrying “soft” luggage on a public bus. And that

       expectation is one that society is prepared to accept as reasonable

       based on a shared community of experience. Id.

            The shared community experience of life in a quiet residential

       neighborhood creates a reasonable expectation of privacy in the

       entirety of your comings and goings, at least to the extent that you

       do not expect neighbors and passers-by to have you under constant


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       video surveillance.

            The District Court’s conclusion that Ms. Moore had exhibited a

       reasonable expectation of privacy based on her choice of residence

       is fully consistent with shared community experience and is clearly

       one that society is prepared to accept as reasonable. Judge Young’s

       finding that the government’s pole camera operation against Ms.

       Moore constituted a search is fully supported by these precedents.

           5. Ms. Moore’s Associational Interests Properly
       Reinforce Her Reasonable Expectations Of Privacy.

            The government has failed to advance any compelling interest

       in warrantless video/pole camera surveillance.               Its purpose in

       conducting such surveillance in this case was to obtain evidence for

       criminal prosecution, based particularly on identifying Ms. Moore’s

       associates and visitors.          Unlike the self-imposed, voluntary

       limitations on warrantless search activities14 in Katz v. United

       States, 389 US 347, 354 (1967), the government here was

            14

             “. . . the surveillance was limited, both in scope and duration,
       to the specific purpose of establishing the contents of the
       petitioner’s unlawful telephonic communications.          The agents
       confined their surveillance to the brief periods during which he used
       the telephone booth, and they took great care to overhear only the
       conversations of the petitioner himself.” Katz, 389 US at 354.

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       profligate in its appetite for unfiltered and unlimited information

       about Ms. Moore and her associations15.                 The district court

       recognized the threat, to Ms. Moore’s First Amendment right of

       privacy in her associations16, posed by this completely unregulated

       government surveillance. G.Add. 18. Regulation of government

       surveillance was one of the basic principles that energized the

       Fourth Amendment’s warrant requirement:

                  The Fourth Amendment does not contemplate the
            executive officers of Government as neutral and
            disinterested magistrates. Their duty and responsibility
            are to enforce the laws, to investigate, and to prosecute.
            Katz v. United States, [389 US 347] supra, at 359-360
            (DOUGLAS, J., concurring). But those charged with
            this investigative and prosecutorial duty should not
            be the sole judges of when to utilize

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             “It is difficult to imagine how any of these exceptions could
       ever apply to the sort of search and seizure involved in this case.
       Even electronic surveillance substantially contemporaneous with an
       individual’s arrest could hardly be deemed an ‘incident’ to that
       arrest. Nor could the use of electronic surveillance without prior
       authorization be justified on the grounds of ‘hot pursuit.’ And, of
       course, the very nature of electronic surveillance precludes its use
       pursuant to the suspect’s consent.” Katz, 389 U.S. at 357-358.
            16

            “Various [constitutional] guarantees create zones of privacy.
       The right of association contained in the penumbra of the First
       Amendment is one, as we have seen.” Griswold v. Connecticut, 381
       US 489, at 484 (1965).

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            constitutionally sensitive means in pursuing their
            tasks. The historical judgment, which the Fourth
            Amendment accepts, is that unreviewed executive
            discretion may yield too readily to pressures to obtain
            incriminating evidence and overlook potential invasions
            of privacy and protected speech. (emphasis added).

       United States v. United States District Court, 407 US 297, at 317

       (1972).

           6. Because The Pole Camera Disclosed Who Was In The
       House, And When They Entered And Left, Its Use Was A
       Search.

            In Kyllo v. United States, 533 U.S. 27, 40 (2001) the Supreme

       Court held that the use of a thermal imaging device to capture

       infrared images of objects within a person’s home constituted a

       search. Kyllo’s rationale applies directly to Ms. Moore’s claim of a

       reasonable expectation of privacy in the information obtained by the

       pole camera system used against her.

            The pole camera revealed not only who came to and left Ms.

       Moore’s home, but the dates and times at which each individual was

       actually in the home at the same time as Ms. Moore. The pole

       camera recorded the identity of people who were inside Ms. Moore’s

       home at any given time.          This information constitutes “intimate


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       details” from within the walls of Ms. Moore’s home.                  See also,

       United States v. Levasseur, 699 F. Supp. 995, 1000-1001 (D. Mass.

       1988)[police order to exit home to learn who was inside constituted

       a search], aff’d sub nom on other grounds, United States v. Curzi,

       867 F2d 36 (1st Cir. 1989). This is a search within the protection of

       the Fourth Amendment and this search requires a warrant:

            The Fourth Amendment's protection of the home has
            never been tied to measurement of the quality or
            quantity of information obtained. In Silverman, for
            example, we made clear that any physical invasion of the
            structure of the home, "by even a fraction of an inch,"
            was too much, 365 U.S. at 512, and there is certainly no
            exception to the warrant requirement for the officer who
            barely cracks open the front door and sees nothing but
            the nonintimate rug on the vestibule floor. In the home,
            our cases show, all details are intimate details,
            because the entire area is held safe from prying
            government eyes.

       Kyllo v. United States, 533 US 27 at 37 (2001)(emphasis added).

            In Kyllo, the Court dealt with a thermal imaging device that

       purported to record only heat emanating from inside the home but

       detectable as it exited the home. Id. at 35. The Court did not limit

       its holding to a particular surveillance device, nor to the type of

       information it seized:

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                   Limiting the prohibition of thermal imaging to
            "intimate details" would not only be wrong in principle;
            it would be impractical in application, failing to provide
            "a workable accommodation between the needs of law
            enforcement and the interests protected by the Fourth
            Amendment," Oliver v. United States, 466 U.S. 170, 181,
            80 L. Ed. 2d 214, 104 S. Ct. 1735 (1984). To begin with,
            there is no necessary connection between the
            sophistication of the surveillance equipment and
            the "intimacy" of the details that it observes --
            which means that one cannot say (and the police
            cannot be assured) that use of the relatively crude
            equipment at issue here will always be lawful. The
            Agema Thermovision 210 might disclose, for example, at
            what hour each night the lady of the house takes her
            daily sauna and bath -- a detail that many would consider
            "intimate"; and a much more sophisticated system might
            detect nothing more intimate than the fact that someone
            left a closet light on. We could not, in other words,
            develop a rule approving only that through-the-wall
            surveillance which identifies objects no smaller than 36
            by 36 inches, but would have to develop a jurisprudence
            specifying which home activities are "intimate" and
            which are not.        And even when (if ever) that
            jurisprudence were fully developed, no police officer
            would be able to know in advance whether his
            through-the-wall surveillance picks up "intimate" details
            -- and thus would be unable to know in advance whether
            it is constitutional.

       Kyllo, 533 US at 38-39.

            The information available to the government through the long

       term use of the pole camera used in the instant case captures the



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       intimate details of the target’s life much more effectively than does

       a thermal imaging device that does not even disclose who is in the

       house, if anyone. Clearly, under the reasoning in Kyllo, the Fourth

       Amendment requires a warrant for the pole camera surveillance at

       issue in Ms. Moore’s case.

           7. Pole Camera Surveillance Requires                                  Judicial
       Supervision Under The Fourth Amendment.

             Pole camera surveillance that generates searchable video

       records of a person’s public movements, especially as related to a

       person’s private home, should be subject to the warrant

       requirement.       A   warrant         is    particularly    important      where

       associational privacy is threatened because the goal of the

       surveillance is to gather intelligence on the home’s occupants and

       their associations, to be sorted out at a later time. See, Berger v.

       New      York,   388    US       41,        59-60    (1967)(addressing         the

       unconstitutionality               of        open-ended,             long-term

       wiretaping/eavesdropping and the seizure of “conversations of any

       and all persons coming into the area covered by the device.”).

             Further, in determining whether a warrant should be required,



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       the Court should consider that the expectation of privacy inquiry

       applies not only to the area to be searched, but also to “the items

       seized.” United States v. Moss, 936 F3d 52, 58 (1st Cir. 2019). The

       items seized from Ms. Moore – the images that reveal the intangible

       patterns of her physical movements – were hoovered up without

       any limitation. The particularity principle serves “to prevent wide-

       ranging general searches by the police.” Id. The violence this search

       did to that principle is hard to overstate. See, Jones, 565 U.S. at

       416-417 [“I would also consider the appropriateness of entrusting

       to the Executive, in the absence of any oversight from a coordinate

       branch, a tool so amenable to misuse, especially in light of the

       Fourth Amendment’s goal to curb arbitrary exercises of police power

       and prevent ‘a too permeating surveillance,’ United States v. Di Re,

       332 U.S. 581, 595, 68 S.Ct. 222, 92 L.Ed. 210 (1948).”]

       (Sotomayor, J. concurring).

           II. AFTER CARPENTER AND JONES, BUCCI IS NOT A
       CONTROLLING PRECEDENT APPLICABLE TO MS. MOORE’S
       CLAIM THAT THE GOVERNMENT’S POLE CAMERA OPERATION
       AGAINST HER AND HER HOME CONSTITUTED A SEARCH
       UNDER THE FOURTH AMENDMENT.

            The government’s central argument in this appeal is that this


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       Court’s holding in United States v. Bucci, 582 F3d 108 (1st Cir.

       2008) controls the outcome in this case under the “law of the

       circuit” corollary to the principle of stare decisis, and that no

       exception to that rule applies here. Government’s Opening Brief

       [“GOB”], 15. Specifically, it argues, Bucci held that the use of a pole

       camera to surveil the front of a person’s home and driveway does

       not constitute a search because that area is exposed to public view.

       Id. For that reason, there can be no objectively reasonable

       expectation of privacy in those exposed areas.

            Bucci did not address the government activity that is at issue

       here: the seizure of the intangible patterns of Ms. Moore’s daily

       movements, and those of her family, friends and associates that

       were captured and aggregated in searchable format without

       limitation for eight months.

           A. The Holding In Bucci Did Not Address                              The
       Government Activity That Is Contested In This Case.

            In Bucci, this Court was terse:

                “There are no fences, gates or shrubbery located in front
          of [Bucci’s residence] that obstruct the view of the driveway
          or the garage from the street. Both [are] plainly visible.” An
          individual does not have an expectation of privacy in items or
          places he exposes to the public. See Katz v. United States,

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          389 U.S. 347, 351, 88 S.Ct. 507, 19 L. Ed.2d 576
          (1967)(“[T]he Fourth Amendment protects people, not
          places. What a person knowingly exposes to the public, even
          in his own home or office, is not a subject of Fourth
          Amendment protection.”); see also, California v. Ciraolo, 476
          U.S. 207, 213, 106 S.Ct. 1809, 90 L. Ed. 2d 210 (1986). That
          legal principle is dispositive here. See Kyllo v. United States,
          533 U.S. 27, 31-33, 121 S.Ct. 2038, 150 L.Ed. 2d 94
          (2001)(noting lawfulness of unenhanced visual surveillance
          of a home).

       582 F3d at 116-117. In essence, this Court said that Bucci had no

       expectation of privacy in the physical features of his front yard,

       house and driveway because he had taken no steps to conceal or

       obstruct the view of them from the street. 582 F3d at 116. The

       Court was focused on the “unenhanced visual surveillance of a

       home.” 582 F3d at 117. The government argues that Bucci is

       indistinguishable from Moore’s case and so controls the outcome

       here. GOB, 15-20.

            The district court rejected this argument. Judge Young noted

       that Moore did not assert that a trespassory search had been made;

       she claimed that the government’s intensive surveillance and

       aggregated storage of a huge volume of data about her physical

       movements and associations violated her reasonable expectations



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       of privacy.17 G.Add.5. In other words, the government activity being

       challenged includes the seizure of images that, when aggregated,

       capture the patterns of Ms. Moore’s life – her own activities and

       those of her friends and associates.

            The first requirement of analysis of a Fourth Amendment claim

       is to “begin by specifying precisely the nature of the state activity

       that is challenged.” Smith v. Maryland, 442 US 735, 741 (1979).

       Once the nature of the government’s challenged activity is

       specifically    identified   –    here    the    creation     of   a     “precise,

       comprehensive record of a person’s public movements” by the use

       of long-term surreptitious video recording – the inapplicability of

       Bucci becomes clear.


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       In United States v. Jones, 565 U.S. 500 (2012) the Court clarified
       that the trespassory and reasonable expectation of privacy rubrics
       are not mutually exclusive but rather complementary: “the Katz
       reasonable-expectation-of-privacy test has been added to, not
       substituted for, the common-law trespassory test.” Id., at 409.
       Justice Scalia elaborated:
          A trespass on “houses” or “effects,” or a Katz invasion of
          privacy, is not alone a search unless it is done to obtain
          information, and the obtaining of information is not alone a
          search unless it is achieved by such a trespass or invasion of
          privacy.
       Id., at 409 n. 5.

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            The district court put it this way:

                The Government sidesteps Moore-Bush and Moore’s
          asserted privacy interest: it focuses on whether Moore-Bush
          and Moore had a broader privacy interest in the front of their
          house. See Gov’t Opp’n 4. Construed broadly, perhaps they
          did not. See California v. Ciraolo, 476 U.S. 207, 213
          (1986)(observing that law enforcement officers need not
          ‘shield their eyes when passing by a home on public
          thoroughfares”).
                Yet that is not the narrower privacy interest that Moore-
          Bush and Moore assert here. Instead, Moore-Bush and Moore
          claim that they expected privacy in the whole of their
          movements over the course of eight months from continuous
          video recording with magnification and logging features in the
          front of their house. Moore Mot. 9-10; Moore-Bush Mot. 5.

       G.Add8-9 [emphasis added]. In its appellate brief, the government

       insists that the issue presented is merely whether Ms. Moore has a

       reasonable expectation of privacy in the features of the front of her

       home, driveway and yard, but that is not the issue adjudicated in

       the district court and presented for review by this Court.

            Since Bucci does not address the government conduct at issue

       here, it is not binding on this Court under the law of the circuit

       doctrine.

           B. The Law Of The Case Applies Only To Prior Circuit
       Holdings.

            Only a ruling that is essential to the disposition of the case is

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       binding on later panels under the law of the circuit rule. Igartua v.

       Obama, 842 F3d 149, 151 n. 1 (1st Cir. 2016). Dicta – as opposed

       to a court’s holdings – have no binding effect in subsequent

       proceedings in the same (or any other) case. Municipality of San

       Juan v. Rollan, 318 F3d 26, 28 n.3 (1st Cir. 2003); Kosereis v.

       Rhode Island, 331 F3d 207, 213 (1st Cir. 2003)[“Dicta, of course, is

       not binding on future panels”]. Thus, when this Court says that,

       “[a]s a general rule, newly constituted panels in a multi-panel

       circuit are bound by prior panel decisions closely on point,”

       (emphasis added), it must be referring to prior holdings that are

       controlling on the issue under consideration in the present case. As

       demonstrated above, Bucci’s holding is not binding in this case

       because it is does not address the issue litigated and decided in the

       district court.

            C. Assuming, Arguendo, That Bucci Is A Coterminous
       Circuit Precedent, Both Exceptions To The Law Of The Case
       Rule Make Carpenter The Controlling Authority Here.

            The law of the circuit is a corollary of the principle of stare

       decisis; it “has soft edges; it is ‘neither a straightjacket nor an

       immutable rule.” United States v. Rodriguez, 527 F3d 221, 224 (1st


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       Cir. 2008).

            In this spirit, this Court has recognized that the doctrine

       admits of at least two exceptions. Obviously, the law of the circuit

       does not apply “when the holding of a previous panel is contradicted

       by controlling authority, subsequently announced(.)” Id., at 225. A

       related exception applies when a subsequent authority, “although

       not directly controlling, nevertheless offers a sound reason for

       believing that the former panel, in light of fresh developments,

       would change its collective mind.” In some circumstances, both

       exceptions may apply; this occurred in Rodriguez, supra.

            When considering whether one or both of these exceptions

       militates against applying the law of the circuit rule, this Court does

       not interpret the intervening Supreme Court ruling narrowly.

       United States v. Holloway, 630 F3d 252, 258 (1st Cir. 2011)[“A

       Supreme Court opinion need not be directly on point to undermine

       one of our opinions. ‘A (Supreme Court) holding . . . can extend

       through its logic beyond the specific facts of its case’”]. It assesses

       not just the holding, but the Supreme Court’s rationale, its

       analytical method, and the directional indicators embedded in the


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       Court’s considered commentary on the subject matter of the

       intervening decision. It examines its own precedent for its

       compatibility with the new order and discards rulings that cannot be

       reconciled with the new decision.

            For example, in Carpenter’s Local Union No. 26 v. United

       States Fid. & Guar. Co., 215 F3d 136 (1st Cir. 2000), this Court

       pointed out that, because the federal system is “not only precedent-

       based but hierarchical”:

          When emergent Supreme Court case law calls into question
          a prior opinion of another court, that court should pause to
          consider its likely significance before giving effect to an
          earlier decision.

       Id., at 141. Although Carpenter’s Local involved an issue of

       statutory interpretation, a field in which stare decisis interests are

       particularly strong [Id.], this Court considered whether its

       precedent “though not directly overruled or superseded, fairly can

       be said to have fallen by the wayside.” Id., at 142. Stare decisis, it

       said, “leaves room for courts to balance their respect for precedent

       against insights gleaned from new developments, and to make

       informed judgments as to whether earlier decisions retain

       preclusive force.” Id.

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            Examining rationales of two intervening Supreme Court

       precedents, this Court noted that neither applied directly to the

       inquiry involved in Carpenter’s Local. Both opinions signaled an

       “analytical shift” in how the statutory problem should be evaluated,

       although both “stop short of explicitly endorsing a new analytic

       modality” to the “reference to” inquiry at hand:

          Although the Travelers Court had no occasion to link its newly
          conceived ‘objectives’ analysis to the ‘reference to’ inquiry,
          the two building blocks on which that analysis rests * * *
          logically undergird both inquiries. [citation ommitted]. We
          thus proceed to apply the teachings of Travelers and
          Dillingham as we understand them.

       Id., at 143. The Court then analyzed the issue before it using the

       principles underlying the two intervening Supreme Court precedents

       and concluded that the new perspective offered by these precedents

       was more useful analytically than the Circuit precedent: “Believing,

       as we do, that Williams no longer aids us in our consideration of this

       issue, we abrogate its central holding.” Id., at 145.

            In Crowe v. Bolduc, 365 F3d 86 (1st Cir. 2004) this Court

       followed a similar path when faced with the question of whether a

       motion to add mandatory prejudgment interest should be brought

       under Rule 59(e) or 60(a), F.R.Civ.P. Circuit precedent dictated Rule

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       60(a). Three years later, in Osterneck v. Ernst & Whinney, 489 U.S.

       169 (1989) the Supreme Court held that a motion to add

       discretionary prejudgment interest must be brought under Rule

       59(e); in a footnote the Supreme Court said: “We do not believe

       the result should be different where prejudgment interest is

       available as a matter of right.” Id., at 176 n. 3.

            This Court said: “Following Osterneck’s lead, we conclude that

       Rule 59(e) is the proper procedural vehicle for motions seeking to

       revise a judgment to include an initial award of prejudgment

       interest (whether mandatory or discretionary).” Id., at 92-93. The

       Court explained:

               To be sure, this footnote is dictum, but it is much more
          than an offhand comment. We have recognized before, and
          today reaffirm, that “carefully considered statements of
          the Supreme Court, even if technically dictum, must be
          accorded great weight and should be treated as
          authoritative.” United States v. Santana, 6 F3d 1, 9 (1st Cir.
          1993); accord McCoy v. Massachusetts Inst. of Technology,
          950 F2d 13, 19 (1st Cir. 1991).

       Id., at 92 [emphasis added]. “To the extent that our earlier decision

       in Aubin is inconsistent with this holding, it is overruled.” Id., 93.

            A third case in which this Court found circuit precedent not to

       be binding in the face of intervening Supreme Court decisions is

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       particularly pertinent to this case.

            As noted, in United States v. Rodriguez, supra, both exceptions

       to the law of the circuit rule came into play. At issue was the

       continuing viability of a 2007 sentencing decision by this Court that

       prohibited a judge from using the fact that a defendant was not

       eligible for fast-track leniency as a basis for varying downward from

       the applicable advisory guidelines range. United States v. Andujar-

       Arias, 507 F3d 734, 739 (1st Cir. 2007). This Court decided that

       Andujar-Arias was no longer viable after the Supreme Court’s

       decisions in Gall v. United States, 552 U.S. 38 (2007) and

       Kimbrough v. United States, 552 U.S. 85 (2007),18 explaining:

          These decisions . . . shed new light on the scope of a
          sentencing court’s discretion under an advisory guidelines
          scheme. Collectively, they called into question a number of
          our earlier decisions by emphasizing the breadth of a district
          court’s discretion to deviate from a defendant’s GSR
          [Guidelines sentencing range] based on the compendium of
          sentencing factors mentioned in 18 U.S.C. §3553(a). * * *
          [W]e are now persuaded that the gloss added by the
          Supreme Court militates in favor of a new approach – an
          approach that requires, inter alia, abrogating our holding in


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       Andujar-Arias was decided November 19, 2007; Gall and Kimbrough
       were decided December 10, 2007; Rodriguez was decided June 4,
       2008.

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          Andujar-Arias.

       Rodriguez, 527 F3d at 225.

            Gall and Kimbrough enlarged the discretion of district courts

       in sentencing, even authorizing sentencing judges to vary from the

       Guidelines based on policy considerations, including disagreement

       with the Guidelines. Id., at 227. Although the Guidelines had been

       declared advisory in United States v. Booker, 543 U.S. 220 (2005),

       various categorical rules and practices from the old regime

       persisted, particularly in appellate review of lenient sentences. This

       Court chose to treat Andujar-Arias as emblematic of appellate

       “bright-line” rules of review, id., at 226-227, as to which “emergent

       case law signals that, under an advisory guideline regime,

       sentencing has become a steadily more open-ended enterprise.”19


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          Building on the foundation laid in United States v. Booker,
          543 U.S. 220, 125 S.Ct. 738, 160 L.Ed.2d 621 (2005),
          Kimbrough lends a new flexibility to the scope of the district
          courts’ sentencing authority and, in the bargain, removes a
          formidable obstacle to the consideration of matters such as
          fast-track disparity. We refer specifically to the Kimbrough
          Court’s enlargement of a sentencing court’s capacity to factor
          into the sentencing calculus its policy disagreements with the
          guidelines. Kimbrough, 128 S.Ct. At 570. This makes plain
          that a sentencing court can deviate from the guidelines based

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       Id., at 227.

            In addition to liberalizing the discretion of sentencing judges,

       the Supreme Court revised the way §3353(a)’s catalog of

       sentencing factors is to be applied, away from treating them as

       independent considerations and toward treating them as                       a

       “tapestry of factors, through which runs the thread of an

       overarching principle” – the “parsimony principle” that instructs

       sentencing judges to “impose a sentence sufficient, but not greater

       than necessary, to accomplish the goals of sentencing.” Id., at 228.

       These fundamental changes that Gall and Kimbrough brought to the

       approach to be taken in sentencing and appellate review of

       sentencing are inconsistent with using categorical rules like that in

       Andujar-Arias:

                For these reasons, we conclude that consideration of
          fast-track disparity is not categorically barred as a sentencing
          evaluation datum within the overall ambit of 18 U.S.C.
          §3553(a). To the extent necessary to effectuate this holding,
          we abrogate our earlier opinion in Andujar-Arias.

       Id., at 229.



         on general policy considerations.
       Rodriguez, 527 F3d at 227.

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            In each of these three cases [and in Holloway, 630 F3d at 259-

       260], this Court found that one or more Supreme Court cases had

       clearly signaled that its view of the law was shifting in a direction

       that was incompatible with the rationale of the First Circuit holding

       being reviewed. In Carpenter’s Local, this Court perceived that the

       Supreme Court had “plainly signaled a significant analytic shift” in

       determining when to apply the ERISA preemption doctrine: it

       abandoned “strict textualism in favor of a more nuanced approach”

       that focused on the objectives of the ERISA statute. 215 F3d at 140.

       This Court applied the Supreme Court’s approach, found that it led

       to a result more aligned with the Supreme Court’s new way, and

       overruled its precedent.

            In Crowe, this Court followed an explicit Supreme Court

       directive and overruled its precedent, despite the fact that the

       directive was stated in dictum. It did so on the principle that

       “carefully considered statements of the Supreme Court, even if

       technically dictum, must be accorded great weight and should be

       treated as authoritative.” 365 F3d at 92. And in Rodriguez, this

       Court examined two very fresh intervening Supreme Court decisions


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       and, rather than reading them for the holdings, examined them for

       the changes in sentencing philosophy, both in terms of devising

       individualized sentences and in terms of the division of authority

       between sentencing and reviewing courts. Concluding that its

       current direction on those points needed realignment, this Court

       again discarded its passe precedent and struck out in the new

       direction that the Supreme Court had clearly identified.

            Like    Holloway,    Ms.    Moore’s    case   belongs      with   these

       recalibrating precedents. In Bucci, this Court applied the public

       exposure rationale without considering the individual’s interest in

       the privacy interests that the Supreme Court found significant in

       Jones and controlling in Carpenter. Judge Young noted that the

       Jones concurrences “undermine Bucci’s legal [and] analytic

       foundations,” citing United States v. Garcia-Gonzalez, 2015 U.S.

       Dist. LEXIS 116312, , 2015 WL5145537 (D. Mass. 2015)(Sorokin,

       J.). He acknowledged that the Supreme Court characterized its

       Carpenter holding as “narrow,” and pointed out that his ruling is

       grounded on the Supreme Court’s “necessary reasoning” rather

       than its holding. G.Add.12. See, Holloway, 630 F3d at 258 [“A


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       [Supreme Court] holding . . . can extend through its logic beyond

       the specific facts of its case”].

            The Supreme Court’s recognition of an individual’s privacy

       interest in the whole of their physical movements – the patterns of

       their lives – and in being free from warrantless, targeted and

       intensive surveillance that collects these intimate details for the

       foreseeable future to be studied and used as evidence, is binding on

       this Court.

           III. THE GOOD FAITH EXCEPTION TO THE WARRANT
       REQUIREMENT DOES NOT EXCUSE THE GOVERNMENT’S
       FAILURE TO OBTAIN A WARRANT.

            The government argues that this Court should reverse the

       district court’s suppression order because it relied in good faith on

       Bucci in utilizing the pole camera without a warrant. GOB 33-35.

       The government did not assert its claim of good faith in its

       opposition to Ms. Moore’s motion to suppress in the district court,

       and that court found it thereby waived this claim. G.Add.4-5 & fn.

       2. United States v. Olano, 507 U.S. 725, 733 (1993)[waived claim

       cannot be reviewed under Rule 52(b)]; United States v. Gorsuch,

       404 F3d 543, 547 n. 1 (1st Cir. 2005)[same]. In its motion for


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       reconsideration the government made a good faith claim but offered

       no evidence in support of that argument and gave no reason why

       it had not asserted that claim in its opposition to Ms. Moore’s

       motion to suppress. G.App.145-146. It has not challenged the

       finding of waiver nor attempted a showing of good cause.

            Because the claim is waived, the government cannot obtain

       any appellate review of it. The government’s argument that its

       motion for reconsideration revived its good faith claim for plain

       error review lacks merit.

            A. The District Court Finding Of Waiver Is Correct.

            1. The Government’s “Ripeness” Claim Is Waived.

            On appeal, the government’s only challenge to the waiver

       finding is its suggestion that its good faith claim may not be ripe

       until Bucci is overruled. GOB, 33-34. This argument was not

       presented to the district court, and so is waived. United States v.

       McNicol, 829 F3d 77, 83 (1st Cir. 2016) [“This assertion, however,

       was not made below, and is therefore waived. * * * If any principle

       is settled in this circuit, it is that, absent the most extraordinary

       circumstances, legal theories not raised squarely in the lower court


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       cannot be broached for the first time on appeal”]. The good faith

       claim was “ripe” when the government opposed Ms. Moore’s motion

       to suppress. It asserted a reason why the district court arguably

       should have denied suppression even if it concluded that the use of

       the pole camera/data storage unit constituted a search. It is an

       issue on which the government bore a “heavy burden” of proof.

       United States v. Wurie, 728 F3d 1, 13 (1st Cir. 2013). It is a claim

       subject to waiver when the government fails to timely present it in

       the district court. United States v. Ramirez-Rivera, 800 F3d 1, 32

       (1st Cir. 2015).

            The claim was ripe because it was relevant to the issue of

       suppression and the government had a clear obligation and

       opportunity to present it in response to Ms. Moore’s motion to

       suppress. See, Massaro v. United States, 538 U.S. 500, 504

       (2003)[“(r)ules of procedure should be designed to induce litigants

       to present their contentions to the right tribunal at the right time”].

            2. No Factual Basis Or Good Cause Is Asserted.

            Good faith reliance requires a factual basis. In Ramirez-Rivera,

       this Court stated:


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               Regardless, the good-faith exception would not help the
          government in this case. Lieutenant Flores-Ortiz admitted at
          the evidentiary hearing that the reason the police did not try
          to get a warrant was [that the process would be too much
          trouble and too time-consuming].

       800 F3d at 32. At no point has the government made an offer of

       proof as to why its investigators did not ask for a warrant, nor has

       it argued that, at the time it installed the pole camera, it had

       probable cause to justify issuing one. The government here argues

       only that “law enforcement could reasonably have relied on . . .

       Bucci in installing and operating the pole camera in this case.” GOB,

       34 [emphasis added]. It is not a foregone conclusion that the

       government in fact relied on Bucci in this case.

            Some law enforcement authorities questioned the warrantless

       use of pole cameras after Jones. E.g., Farb, Pole Camera

       Surveillance Under the Fourth Amendment, North Carolina Criminal

       Law, https://nccriminallaw.sog.unc.edu [July 12, 2016]20; Clark,


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       “It would not be surprising if in the relatively near future the United
       States Supreme Court decides a case on pole camera surveillance,
       and there is a reasonable probability that the Court might rule that
       extensive video surveillance of a residence requires a search
       warrant or its functional equivalent(.) * * * In the meantime, a
       cautious officer may wish to seek a court order authorizing the use

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       Pole Cameras and Surreptitious Surveillance, FBI Law Enforcement

       Bulletin, 23, 28 (November 2009) [“Currently, there is a divergence

       in federal case law concerning whether a search warrant is required

       to conduct pole-camera surveillance in the vicinity of a residence”].

       The reason[s] the law enforcement officers did not apply for a

       warrant involves unresolved questions of fact which the government

       still has not addressed. Judge Young was fully justified in finding

       that the government waived its good faith claim. Nothing the

       government has done since its waiver entitles it to any appellate

       review of that claim.

            A party can obtain relief from waiver in the district court on a

       showing of “good cause” for the waiver. United States v. Crooker,

       688 F3d 1, 9-10 (1st Cir. 2012). The government did not attempt to

       establish “good cause” in its motion for reconsideration [G.App.

       145-147] nor in its opening brief. GOB, 33-35.

           B. The Motion For Reconsideration Did Not Obviate Or
       Cure The Waiver; Plain Error Review Is Not Available.




       of a pole camera directed at a residence or at least consult with the
       officer’s agency’s legal advisor or prosecutor before deciding not to
       do so.”

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           1. The       Good     Faith    Argument        Was      Inadequately
       Developed.

            The government argues that it is entitled to plain error review

       in this Court because it asserted its claim in a motion for

       reconsideration. GOB, 34. But the argument in that motion was

       fatally flawed: it “contained scant elaboration of the [good faith

       claim] and offered no analysis of how the . . . law supported such

       a theory on the facts of this case.” G.App. 145-146; Iverson v. City

       of Boston, 452 F3d 94, 104 (1st Cir. 2006); United States v.

       Zannino, 895 F2d 1, 17 (1st cir. 1990)[“issues adverted to in a

       perfunctory manner, unaccompanied by some effort at developed

       argumentation, are deemed waived”]. The government did not

       explain why it did not raise the good faith argument in opposing Ms.

       Moore’s motion to suppress, which clearly challenged the continued

       vitality of Bucci, and it did not attempt to show good cause for not

       doing so. G.App.145-146.

           2. The Motion For Reconsideration Did Not Revive The
       Waived Good Faith Claim.

            The government argues that “the consequence of raising an

       argument for the first time in a motion for reconsideration is plain


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       error review. See United States v. Tanco-Pizarro, 892 F3d 472, 479

       (1st Cir. 2018).” GOB, 34. The defendant there had failed to make

       a procedural unreasonableness objection in the district court, which

       relegated him to plain error review because his failure was treated

       as a forfeiture. This Court rejected his argument that raising the

       claim in a motion for reconsideration preserved it for full appellate

       review. The plain error review was not secured by the motion for

       reconsideration. Id, 478-479 [“The problem for him is that

       arguments unveiled for the first time in a reconsideration motion

       are not preserved for appeal”]. A motion for reconsideration cannot

       be used to enable a party “to undo its own procedural failures(.)”

       United States v. Almonte-Reyes, 814 F3d 24, 27 n. 4 (1st Cir.

       2016); Iverson v. City of Boston, 452 F3d 94, 104 (1st Cir. 2006).

            This Court reviews the denial of a motion for reconsideration

       for abuse of discretion. United States v. Allen, 573 F3d 42, 53 (1st

       Cir. 2009). Motions for reconsideration cannot be used as a vehicle

       for a party to present arguments that could and should have been

       presented to the court before its original ruling. Id. Only a forfeited

       claim can be reviewed for plain error. Olano, supra, at 733.


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           C. Because Bucci Did Not Hold That The Use Of The Pole
       Camera In That Case Was Not A Search, The Government
       Cannot Rely On Bucci To Support A Good Faith Claim That It
       Was Not A Search.

            The question whether Ms. Moore is entitled to challenge the

       pole camera use is distinct from whether the government conducted

       a search with it. United States v. Boyd, 138 S.Ct.               1518, 1526

       (2018)[“Whether a warrant is required is a separate question from

       . . . whether the person claiming a constitutional violation ‘has had

       his own Fourth Amendment rights infringed by the search and

       seizure which he seeks to challenge”]. In Bucci, this Court

       addressed only the second of these questions. 582 F3d at 116.

       Accordingly, the government could rely on Bucci only for the

       proposition that Ms. Moore did not have standing to challenge its

       use of a pole camera to surveil her house. It could not rely on Bucci

       for the distinct proposition that the use of the pole camera was not

       a search. See, United States v. Boyd, 742 Fed. Appx. 587, 588 & n.

       1 (3rd Cir. 2018)[on remand from the Supreme Court].21

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       “In short, we are persuaded that while the officers could reasonably
       rely on Kennedy to conclude that Byrd did not have Fourth
       Amendment standing to object to the search, they could not
       reasonably rely on Kennedy to conclude . . . that the search itself

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           D. The District Court’s Refusal To Consider A Good Faith
       Claim Not Asserted Was Not Error.

            Even if this Court conducts a plain error review, the

       government’s argument fails. The error it claims is Judge Young’s

       “declining to find good faith.” GOB, 34. This occurred only in his

       refusing to reconsider his ruling. “If a legal rule was violated during

       the district court proceedings, and if the [party] did not waive the

       rule, then there has been an “error” within the meaning of Rule

       52(b) despite the absence of a timely [assertion of the claim].”

       Olano, 507 U.S. at 733-734. No such error occurred here. The only

       reason the government made a “good faith” assertion at any point

       in the district court is that Judge Young pointed out that the

       government had waived it by not asserting it.

            The good faith exception is a claim in the nature of an

       affirmative defense [confession and avoidance]. The principle of

       party presentation instructs federal judges not to assert claims for

       the government sua sponte.         In Greenlaw v. United States, the

       Court said:


       was constitutional.” This is not a precedential opinion. Kennedy was
       the equivalent of Bucci in Boyd.

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                In our adversary system, in both civil and criminal
          cases, in the first instance and on appeal, we follow the
          principle of party presentation. That is, we rely on the parties
          to frame the issues for decision and assign to courts the role
          of neutral arbiter of matters the parties present. To the
          extent courts have approved departures from the party
          presentation principle in criminal cases, the justification has
          usually been to protect a pro se litigant’s rights. See, Castro
          v. United States, 540 U.S. 375, 381-383, 124 S.Ct. 786, 157
          L.Ed. 2d 778 (2003).

       554 U.S. at 243-244. Regarding omissions of claims by the

       government in a criminal case, the Court elaborated:

          Counsel almost always know a great deal more about their
          cases than we do, and this must be particularly true of
          counsel for the United States, the richest, most powerful, and
          best represented litigant to appear before us.

       Id, quoting United States v. Samuels, 808 F2d 1298, 1301 (CA8

       1987)(R.Arnold, J., concurring in denial of reh’g en banc).

              Thus, even if the government had a viable good faith claim, it

       was not an error for the district court to decline to address it, much

       less a clear or obvious error. Greenlaw required the court to rely on

       government counsel to decide which claims to present, when and

       how.

              The government has not argued that the district court’s finding

       of waiver is the error it seeks to have reviewed. Waiver of a claim

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       not presented is not per se error. Rammirez-Rivera, supra. It

       violates nobody’s rights. Olano, 507 U.S. 725, 732-733 (1993).

            The government’s remaining plain view arguments are not

       sufficiently developed to warrant appellate review. GOB, 34-35.

       United States v. Flete-Garcia, 925 F3d 17, 38 (1st Cir. 2019). It

       presented no evidence how or by whom the decision to proceed

       without a warrant was made, much less that Bucci was a

       consideration. Likewise, it has presented no explanation of why it

       did not assert its good faith claim in response to the motion to

       suppress. It does not claim that the judge’s finding of waiver was

       erroneous.

            The government’s claim of prejudice is cursory; it merely

       refers to another document that has not been incorporated into its

       brief. Zannino, 895 F3d at 17. It has not offered any account of

       what impact the suppression order will have on its trial case. The

       government must show plain error that affects substantial rights

       before it can invoke this Court’s discretion to consider whether a

       miscarriage of justice would result if its waiver is enforced. The

       government makes no argument that the fairness, integrity and


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       public reputation of this proceeding requires review; it merely

       asserts that plain error review will enhance those qualities in this

       proceeding. GOB 35; Zannino, supra [“a litigant has an obligation

       ‘to spell out its arguments squarely and distinctly(.)’”].

                                   CONCLUSION

            The government’s pole camera operation constituted a search,

       conducted without probable cause or a warrant. The law of the

       circuit does not interpose this Court’s ruling in United States v.

       Bucci as a binding circuit precedent to the contrary. The

       government has waived any claim that its agents acted in good faith

       reliance on Bucci in carrying out this warrantless search, and it has

       not made out a plain error basis for review of that issue. The district

       court’s order should be affirmed.

                        REQUEST FOR ORAL ARGUMENT

            Appellee Daphne Moore requests that this Court grant her oral

       argument in her defense of the district court’s suppression order.

       The issues raised are constitutionally important and oral argument

       will assist the Court in reaching a fully informed and considered

       judgment.


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                CERTIFICATE OF COMPLIANCE WITH RULE 32(a)

            This brief complies with the type-volume limits of F.R.App.P.
       32(a)(7)(B) because it contains 12,143 words, excluding the parts
       of the brief exempted by Rule 32(f). It complies with the typeface
       requirements of Rule 32(a)(5) and the type-style requirements of
       Rule 32(f) because it has been prepared using Verdana
       proportionally spaced 14 point, in Word Perfect version 9.

                                          /s/ John M. Thompson
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                            CERTIFICATE OF SERVICE

            I, John M. Thompson, hereby certify that on October 21, 2019,
       I electronically served a copy of the foregoing document on the
       registered participants of the CM/ECF system: Judith Meisner, Esq.
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